                  Case 2:05-mc-70840-GER ECF No. 30, PageID.159 Filed 09/11/08 Page 1 of 1
MIE 800 Generic Notice of Hearing (Rev. 3/98)



                                                UNITED STATES DISTRICT COURT
                                                EASTERN DISTRICT OF MICHIGAN
                                                     SOUTHERN DIVISION


          SUBHIEH JEBRIL,
                                                                    CASE NUMBER: 05-70840
                                        Petitioner,
                                                                    HONORABLE GERALD E. ROSEN
          v.

          UNITED STATES OF AMERICA,

                                        Respondent.
                                                           /


                                                           NOTICE OF:
                                                           CIVIL TRIAL

                    You are hereby notified to appear before the Honorable Gerald E. Rosen, United States
          District Judge for the above proceeding on:



                                 DATE                            TIME                   ROOM 733

                                                                               Theodore Levin U.S. Courthouse
            TUESDAY, NOVEMBER 18, 2008                         9:00 A.M.
                                                                                     231 W. Lafayette
                                                                                  Detroit, Michigan 48226




                                                      CERTIFICATE OF MAILING



          I hereby certify that a copy of the foregoing document was served upon counsel of record on September
          11, 2008, by electronic and/or ordinary mail.

                                                                   s/LaShawn R. Saulsberry
                                                                   Case Manager
                                                                   313-234-5137
